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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
 3   Designated Counsel for Servic
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   FEROZA BHAMANI
 7
 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,             )             NO. CR-S-10-327 MCE (DAD)
                                           )
13                     Plaintiff,          )
                                           )             STIPULATION AND ORDER
14         v.                              )             MODIFYING SPECIAL CONDITIONS OF
                                           )             PRETRIAL RELEASE
15   FEROZA BHAMANI,                       )
                                           )
16                     Defendant.          )             Judge: Dale A. Drozd
                                           )
17   _____________________________________ )
18          It is hereby stipulated and agreed between the parties, Stephen Lapham, Assistant United States
19   Attorney, attorney for plaintiff, and Matthew C. Bockmon, Assistant Federal Defender, attorney for defendant
20   FEROZA BHAMANI, that the special conditions of pretrial release set forth in this case on August 13, 2010,
21   be modified to strike Condition # 8 - You shall seek and/or maintain employment and provide proof of
22   same as requested by your pretrial services officer.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 2:10-cr-00327-TLN Document 92 Filed 05/04/11 Page 2 of 2


 1          This modification has been requested by U.S. Pretrial Services Officer Renee Basurto, based on the
 2   fact that Mrs. Bhamani has been a housewife and has only helped her husband with his business and does not
 3   receive a monthly income.
 4
 5   Dated: May 3, 2011
 6                                                          Respectfully submitted,
 7                                                          DANIEL J. BRODERICK
                                                            Federal Defender
 8
                                                            /s/ Matthew C. Bockmon
 9                                                          MATTHEW C. BOCKMON
                                                            Assistant Federal Defender
10                                                          Attorney for Defendant
                                                            FEROZA BHAMANI
11
12   Dated: May 3, 2011                                     BENJAMIN B. WAGNER
                                                            United States Attorney
13
                                                            /s/ Matthew C. Bockmon for
14                                                          STEPHEN LAPHAM
                                                            Assistant U.S. Attorney
15
16
                                                        ORDER
17
18          Based on the parties’ stipulation, and good cause appearing therefrom, the Court hereby adopts the
19   stipulation of the parties in its entirety. All other conditions of release remain in effect.
20   IT IS SO ORDERED.
21
     Dated: May 4, 2011.
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